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                                                                             UNITED STATES DISTFIICT COURT
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                          IN THE UNITED STATES DISTzuCT COURT                            NOV 1 g Z1,?4

                              FoR THE DISTRICT oF NEw         MExICo             MlrcHEt'L R' ELr-EFt$
 r-TNITED STATES OF       AMERTCA,                 )                                         ct-EFt/:
                                                   )
                 Plaintiff,                        )    CRTMTNAL NO. 24-Ot4s3         t[q
                                                   )
          vs.                                      )    Count   l: 18 U.S.C. $ 371: Conspiracy;
                                                   )
 LUPE VARGAS, a.k.a. "Loks,"                       )    Count 2: 18 U.S.C. $$ 1791(a)(1), (bxl),
 EDWARD YALLF,Z, a.k.a. "Dopey,"                   )    (b)(a): Attempt to Provide a Prohibited
 MONALISA VARGAS,                                  )    Object to an Inmate of a Prison; 18 U.S.C.
 MICHAEL GARCIA, ANd                               )    $ 2: Aiding and Abetting;
 THERESA ATENCIO,                                  )
                                                   )    Count 3: l8 U.S.C. $$ 1791(a)(2), (bX1),
                 Defendants.                       )    @)(a): Attempt by an Inmate of a Prison to
                                                   )    Obtain a Prohibited Object; 18 U.S.C. $ 2:
                                                   )    Aiding and Abetting.

                              SUPERSEDING INDICTMENT
The Grand Jury charges:

                                        General Allegations

          1.    At all times material to this Indictment, the Cibola County Correctional Center,

located in Cibola County, New Mexico, was a "prison" within the meaning of 18 U.S.C. $

1791(dX4), in that Cibola County Correctional Center was a facility in which persons were held

in custody by direction of and pursuant to a contract and agreement with the United States

Marshals Service, which reports to and is under the control of the Attorney General of the United

States.

          2.    At all times material to this Indictment, LUPE VARGAS was an inmate of

Cibola County Correctional Center held in custody by direction of and pursuant to a contract and

agreement with the United States Marshals Service.
          3.   At all times material to this Indictment, EDWARD YALLE,Z was an inmate of

Cibola County Correctional Center held in custody by direction of and pursuant to a contract and

agreement with the United States Marshals Service.

          4.   Heroin and buprenorphine are narcotic drugs under the Controlled Substances

Act,2l U.S.C. $ 812.

          5.   Narcotic drugs are "prohibited objects" within the meaning of 18 U.S.C.

$ 1791(dX1)(C), which an inmate of a prison may not lawfully obtain, attempt to obtain, and

possess.

          6.   Telephones and other devices used by a user of commercial mobile service are

"prohibited objects" within the meaning of 18 U.S.C. S 1791(dX1)(F), which an inmate of a

prison may not larnf,rlly obtain, attempt to obtain, and possess.

                                              Count 1

          7.   The General Allegations set forth in paragraphs 1 through 6 are incorporated

herein.

          8.   From on or about August 9,2024, and continuing to on or about August 10,2024,

in Cibola County, in the District of New Mexico, and elsewhere, the defendants, LUPE

VARGAS, EDWARD VALLEZ, MONALISA VARGAS, MICHAEL GARCIA, ANd

THERESA ATENCIO, knowingly, unlawfully and willfully combined, conspired,

confederated, agreed, and acted interdependently with one another and with others unknown to

the Grand Jury to provide a prohibited object to a prisoner, contrary to 18 U.S.C. $ 1791(aXl).
                                           Overt Acts

       9.     As part of and in furtherance of the conspiracy, the following overt acts, among

others, were corlmitted in the District of New Mexico, and elsewhere:

       a.     On a date unknown, but no later than August 9,2024, defendant THERESA

              ATENCIO purchased an iPhone with the knowledge that other persons would

              provide it to defendant EDWARD VALLEZ.

       b.     On or about August g,2l24defendants MONALISA VARGAS and

              MICHAEL GARCIA placed heroin, buprenorphine, and mobile telephones in a

              package.

       c.     On or about August 10,2024, defendants MONALISA VARGAS and

              MICHAEL GARCIA traveled to a parking lot adjacent to the Cibola County

              Correctional Center, for purposes of throwing the package containing the narcotic

              drugs and mobile telephones over the fence of the Cibola County Correctional

              Center where LUPE VARGAS and EDWARD VALLEZweTe to receive the

              prohibited objects for themselves and other inmates of that prison.

       d.     On or about August 10,2024, defendants MONALISA VARGAS and

              MICHAEL GARCIA engaged in a series of recorded telephone calls with

              defendants LUPE VARGAS and EDWARD VALLEZinwhich they agreed,

              coordinated, and planned to throw the package containing the narcotic drugs and

              mobile telephones over a fence into the Cibola County Correctional Center.

       e.     On or about August 10,2024, defendants MONALISA VARGAS and

              MICHAEL GARCIA threw the package containing narcotic drugs and mobile
                   telephones over a fence into the Cibola County Correctional Center where LUPE

                   VARGAS and EDWARD VALLEZweTe to receive the prohibited objects for

                   themselves and other inmates of that prison. However, the defendants' plan went

                   awry, and the package and the narcotic drugs and mobile telephones therein were

                   discovered and seized by corrections officers.

          In violation of 18 U.S.C. $ 371.


                                                 Count 2

          10.      The General Allegations set forth in paragraphs I through 6 are incorporated

herein.

          1   1.   On or about August 10,2024, in Cibola County, in the District of New Mexico,

the defendants, MONALISA VARGAS and MICHAEL GARCIA, knowingly attempted to

provide a prohibited object, that is, heroin, buprenorphine, and mobile telephones, to an inmate

of the Cibola County Correctional Center, a prison in which persons were held in custody by

direction of and pursuant to a contract and agreement with the United States Marshals Service,

which reports to and is under the control of the Attorney General of the United States.

          In violation of 18 U.S.C. $$ 1791(a)(l), (bX1), (b)(4) and2.


                                                 Count 3

          12.      The General Allegations set forth in paragraphs 1 through 6 are incorporated

herein.

          13.      On or about August 10,2024, in Cibola County, in the District ofNew Mexico,

the defendants, LUPE VARGAS and EDWARD VALLEZ,being inmates of the Cibola
County Correctional Center, a prison in which persons were held in custody by direction of and

pursuant to a contract and agreement with the United States Marshals Service, which reports to

and is under the control of the Attorney General of the United States, knowingly attempted to

obtain a prohibited object, that is, heroin, buprenorphine, and mobile telephones.

       In violation of 18 U.S.C. $$ 1791(a)(2), (bxl), (bX4) and2.




                                                     A TRUE BILL:



                                                     FOREPERSON OF THE GRAND JURY
